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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


                                                        §
CORT THOMAS, as the Receiver for W. Neil                §
"Doc" Gallagher, Gallagher Financial Group, Inc.,       §
and W. Neil Gallagher, Ph.D. Agency, Inc.,              §
                                                        §
                         Plaintiff,                     §
                                                        §
v.                                                      § CIVIL ACTION NO.        3:20-CV-576
                                                                               -----




                                                        §
GARY HOPKINS, SR., AND HOPKINS MINING,                  §
LLC.,                                                   §
                                                        §
                         Defendants.                    §
                                                        §
������
                                                        §

                                       ORIGINAL COMPLAINT


       Cort Thomas, in his capacity as the court-appointed Receiver for W. Neil "Doc"

Gallagher ("Gallagher"), Gallagher Financial Group, Inc. ("GFG"), and W. Neil Gallagher,

Ph.D. Agency, Inc. ("Gallagher Agency"), (collectively, the "Receivership Defendants") files

this Original Complaint against Gary Hopkins, Sr. and Hopkins Mining, LLC (collectively,

"Defendants"). In support, the Receiver respectfully shows the Court the following:

                                                 I.
                                              Parties


       1.         Plaintiff Cmi Thomas, Receiver ("Receiver") is an individual who resides in the

State of Texas.

       2.         Defendant Gary Hopkins, Sr. is an individual who may be served with process at

2 128 Leslie Lane, Scottsburg, Indiana 47 170 or wherever else he may be found.




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            3.       Defendant Hopkins Mining, LLC is a limited liability company that may be

served with process by serving its registered agent Gary Hopkins as 2 128 Leslie Lane,

Scottsburg, Indiana 47 170 or wherever else he may be found.

                                                                  II.


                                                  Jurisdiction and Venue


           4.        The court has continuing subject matter ancillary federal jurisdiction pursuant to

28 U.S.C. § 133 1 and the March 8, 20 19 Order Appointing Receiver ("Receivership Order")

issued in Civil Action No. 3: l9-cv-575-C, Securities and Exchange Commission                             v.   W   Neil

    "Doc" Gallagher, et al., in the United States District Court for the Northern District of Texas

(the "Underlying Lawsuit"). Pursuant to the Receivership Order, 1 the Receiver has exclusive

custody and control over all Receivership Assets, which include all claims owned by the

Receivership Defendants. This lawsuit is filed pursuant to the Receiver's execution of his duties

as defined in the Receivership Order to recover funds owed to the Receivership Defendants, and

accordingly, ancillary jurisdiction exists regardless of amount in controversy, diversity, or any

other factor. 2

           5.        Further, the Court has subject matter jurisdiction and personal jurisdiction over

each of the Defendants pursuant to 28 U. S.C. § 1692 and 28 U. S.C. § 754.

           6.        Venue in this District is proper pursuant to 28 U.S. C. § 139l(a) because a

substantial part of the events and omissions giving rise to the claim occurred in Dallas, Texas.

Moreover, because ancillary jurisdiction exists, ancillary venue also exists.3




1 A   true and correct copy of the Receivership Order is attached as Exhibit A and is incorporated by reference.

2   Cra11fordv. Silette,   608 F.3d 275, 278 (51" Cir. 20 I 0).

3   SECv. Bilzerian,   378 F.3d 1100, 1107 (D.C. Cir. 2004).


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                                                       III.
                                           Conditions Precedent


           7.        All conditions precedent to the filing of this Original Complaint have been

performed or have occurred.

                                                       IV.
                                             Background Facts


           8.       As set forth in the Commission's Complaint in the Underlying Lawsuit,4 the SEC

alleges that Gallagher, a long-time radio personality in the Dallas/Fort Wmih area, perpetrated an

affinity-fraud investment scheme through offering and selling securities to investors ranging in

age from 62 to 9 1. 5        The SEC further alleges that to attract investors, Gallagher purchased

airtime to host retirement-planning programs on three Dallas-area radio stations; solicited

listeners to contact Gallagher; and then had face-to-face meetings with investors to pitch

investments that Gallagher promised would generate guaranteed, risk-free returns, ranging from

5% to 8% per year and "retirement income you'll never outlive."6 Specifically, Gallagher, by

and through the Gallagher Financial Group, Inc. and W. Neil Gallagher, Ph.D. Agency, Inc.

solicited investments in the "Gallagher Diversified Growth and Income Strategy Account" (the

"DGI Account").           Gallagher induced the investments by making numerous false statements

regarding the profitability and manner of operation of the DGI Account.                    In truth, Gallagher

invested only a small fraction of the investment funds he received. Moreover, the overwhelming

majority of the investor funds were deposited into a single account Gallagher controlled, and the




4The Receiver hereby incorporates by reference all of the factual allegations in the Commission's Complaint in the
Underlying Lawsuit. For convenience, a true and correct copy of the Commission's Complaint is attached as
Exhibit B.


5   See paragraph I ofSEC Complaint.

6   Id. at paragraph 2.


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investor monies were commingled with other monies and used to make payments to earlier

investors - "a classic Ponzi scheme."7

           9.      Gallagher was indicted for his activities and at his deposition on October 8, 20 19

asserted the Fifth Amendment in response to questions asking him if he operated the DOI

Account as an illegal Ponzi scheme

           10.     As part of the lawsuit filed by the Commission, on March 8, 20 19, the Court

entered the Receivership Order, appointing Cortney C. Thomas as Receiver for the Defendants,

and directing him to take possession and control over all funds, property and other assets in the

possession of, or under the control of Defendants. Receivership Order, Section II,� 7; and� 17

           1 1.    Further, the Receivership Order requires that all persons who receive a copy of

the Receivership Order, without need of formal service, fully cooperate with the Receiver and

not interfere with his efforts to assume control over Receivership Prope1iy. (Receivership Order

� 27 A.). The Receivership Order also requires that all persons holding books, records, or assets

of the Defendants and who receive a copy of the Receivership Order deliver those items to the

Receiver upon his request. (Receivership Order� 15).

           12.     The Receiver discovered information demonstrating that one or more of the

Defendants made a loan or an investment in Hopkins Mining. Additionally, one or more

investors were also persuaded to invest in Hopkins Mining by Defendant Neil Gallagher. The

Receiver also discovered that repayment of the loan or investment was in default.

           13.     Upon discovering this information, the Receiver complied with 28 U.S.C. § 754

and within ten days of his appointment, filed the Receivership Order and the SEC's Complaint in




7   See SEC Complaint, paragraphs 22 and 24.



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the Northern and Southern Districts of Indiana, where Gary Hopkins Sr. resides, and in the

District of Colorado, where Hopkins Mining purp01iedly operates.

        14.    Pursuant to a letter emailed on March 1 1, 20 19 to Mr. Hopkins and Hopkins

Mining, the Receiver's attorney sent a copy of the Receivership Order. The letter requested that

Mr. Hopkins freeze any investment made by any Defendant and provide copies of contracts and

related information related to any funds held on behalf of or owed to any Defendant. Although

the letter requested an immediate response, none was received.

       15.     The Receiver attempted to personally serve Mr. Hopkins with the Receiver's

letter and a copy of the Receivership Order, but Mr. Hopkins evaded service. As a result, upon

the Receiver's request the Court authorized substitute service upon Mr. Hopkins by serving an

adult at the house in Indiana in which Mr. Hopkins is believed to reside. The Receiver had Mr.

Hopkins served through substituted service with a copy of the Receiver's demand and a copy of

the Receivership Order. The Defendants continued to ignore the demands of the Receiver and

the obligations of the Receivership Order.

       16.     Upon the Receiver's Motion, the Court entered an Order for the Defendants to

appear before the Court and show cause as to why they should not be held in civil contempt of

court. The Order was served upon the Defendants through substituted service. The Defendants

ignored the Show Cause Order.

       17.     On January 6, 2020 the Court conducted a show cause hearing. The Defendants

did not appear.   As a result, on January 9, 2020 the Comi entered an Order finding the

Defendants in civil contempt of court for their refusal to comply with the Receivership Order.

The Order was served upon the Defendants through substituted service.




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         18.    To date, neither Mr. Gary Hopkins, nor any representatives of Hopkins Mining

have responded to the Receiver's correspondence or the Court's orders. No documents or

information regarding the investments at issue have been provided to the Receiver by any

representative of Hopkins Mining.

         19.    Accordingly, Gary Hopkins and Hopkins Mining remain in contempt of court.

Their conduct in failing to respond is an intentional and knowing violation of the Receivership

Order.

         20.    Based on documents obtained by the Receiver, it appears that Gallagher loaned

more than $ 1 million of investor funds to the Defendants and upon information and belief that

loan remains unpaid and due and owing.

                                               v.
                                    CLAIMS FOR RELIEF


A.       FRAUDULENT TRANSFER


         2 1.   The Receiver alleges and hereby incorporates by reference each and every

allegation made in Paragraphs 1 through 25 of this Original Complaint as if each were separately

set f01ih herein.

         22.    Beginning in 20 13 and continuing until March 20 19, the Receivership Defendants

transferred Ponzi payments totaling not less than $ 1,000,000 to the Defendants. Each of these

transfers was fraudulent as to the Receivership Defendants and their creditors pursuant to the

Uniform Fraudulent Transfer Act. Because the DGI Account operated by Gallagher was by its

nature a fraudulent enterprise from inception, transfers made in furtherance of such an enterprise




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are fraudulent as a matter of law8, and each transfer by the Receivership Defendants to the

Defendants was willful and malicious and made with actual intent to defraud.

           23.     More specifically, each of the transfers referred to above were made not from

investment income earned by the Receivership Defendants, but from the funds invested in the

Receivership Defendants by the various investors in the program.

           24.     Because the funds the Receiver seeks to recover are Ponzi payments that were

made as loans to the Defendants, the transfers were made without the exchange of reasonably

equivalent value. In addition, on information and belief, the transfers were not received by the

Defendants in good faith.

          25.      Each of the transfers from the Receivership Defendants to the Defendants should

be set aside and the Defendants should be ordered to disgorge to the Receiver such funds in

compliance with this Court's orders, and the UFTA, Tex. Bus. & Comm. Code § 24.00 1 et seq.

To the extent the funds have been used to acquire real or personal property that any Defendant

claims an interest in, such interests should be set aside.

          26.      Finally, pursuant to Tex. Bus. & Comm. Code 24.0 13, the Receiver seeks the

recovery of his attorney's fees against the Defendants.

B.        UNJUST ENRICHMENT


          27.      The Receiver alleges and hereby incorporates by reference each and every

allegation made in Paragraphs 1 through 26 of this Original Complaint as if each were separately

set forth herein.




8   Warfieldv. Byron,   436 F.3d 551 (51h Cir. 2006)


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        28.     The Defendants have each been unjustly enriched by the amount of funds each

received from the Receivership Defendants and the Receiver has a superior equitable interest to

recover the Ponzi payments received by Defendants from the Receivership Defendants.

C.      MONEY HAD AND RECEIVED


        29.     The Receiver alleges and hereby incorporates by reference each and every

allegation made in Paragraphs 1 through 28 above as if each were separately set foiih below.

        30.     In the alternative, and without waiver of the foregoing, the Defendants received

money or valuable prope1iy from the Receivership Defendants and in equity and good

conscience, the money or property each received belongs to the Receivership Estate for the

fmiher benefit of defrauded investors and creditors of the Receivership Estate. The Receiver

hereby sues for the recovery of all money and property had and received by the Defendants,

together with all pre- and post-judgment interest as allowed by law.

D.      REQUEST FOR AN ACCOUNTING


        3 1.    The Receiver alleges and hereby incorporates by reference each and every

allegation made in Paragraphs 1 through 30 of this Original Complaint as if each were separately

set forth herein.

        32.     The Defendants are in wrongful possession of substantial monies transferred to

them from monies invested in the Receivership Defendants by other investors, which was

obtained by the Receivership Defendants through fraudulent and misleading means. The

Defendants have each been provided a copy of the Receivership Order which requires their

cooperation, and each of the Defendants has failed and refused to comply with the Receiver's

demands. To date, the Defendants have failed to return to the Receiver the Ponzi payments they

received, to identify the bank accounts in which the funds are held, or to fully account for the use

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of the funds. The Receiver is entitled to an accounting specifying the location of the funds, the

persons or entities with control over the funds, and the location of any assets purchased with the

funds.

         33.       The Receiver requests that the Court enter an Order compelling the Defendants to

file with the Court and serve upon the Receiver an accounting, under oath, detailing all of their

assets and all of their funds and other assets received from the Receivership Defendants.

         E.        ATTORNEY'S FEES


         34.       The Receiver seeks the recovery of all reasonable attorneys' fees and expenses

incurred in obtaining judgment against the Defendants, as allowed by law or in equity, and those

attorneys' fees and expenses required to pursue any appeal.

                                                 VI.
                                      PRAYER FOR RELIEF


         WHEREFORE, PREMISES CONSIDERED, Receiver, Cort Thomas respectfully prays

that this Court order disgorgement or alternatively award the Receiver judgment against the

Defendants in an amount to be determined through discovery, plus prejudgment and post

judgment interest, attorneys fees, expenses, and court costs; and that the Comi grant such other

and further relief as prayed for herein, both at law and in equity, to which he may show himself

justly entitled.




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                                        Respectfully submitted,

                                        SCHEEF & STONE, L.L.P.


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